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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 FORT PIERCE DIVISION

                          CASE NO. 24-14037-CIV-CANNON/Maynard

  ALEKSEY TOVARIAN,

         Plaintiff,
  v.

  RUBIC, LLC,

        Defendant.
  _________________________________/

             ORDER SETTING TRIAL, SETTING PRE-TRIAL DEADLINES,
            AND REFERRING CERTAIN MATTERS TO MAGISTRATE JUDGE

         THIS MATTER is set for trial during the Court’s two-week trial calendar beginning on

  April 20, 2026, at 9:00 a.m. Counsel for all parties shall appear at a combined pretrial conference

  and calendar call on Tuesday, April 14, 2026, at 1:45 p.m. Motions to Bring Electronic

  Equipment into the Courtroom must be filed one week in advance of the relevant hearing and must

  describe with specificity the electronic equipment intended for use in the courtroom. Unless

  instructed otherwise by subsequent order, the trial and all other proceedings in this case shall be

  conducted at the Alto Lee Adams, Sr. United States Courthouse, 101 South U.S. Highway 1,

  Courtroom 4008, Fort Pierce, Florida 34950. If not already commenced, discovery shall begin

  immediately, and the parties shall adhere to the following schedule:

         April 17, 2025. The parties shall select a mediator pursuant to Local Rule 16.2, shall
         schedule a time, date and place for mediation, and shall jointly file a proposed notice
         scheduling mediation along with an attached proposed order scheduling mediation in the
         form specified on the Court’s website, http://www.flsd.uscourts.gov. The joint notice and
         the proposed order must indicate the time, date, and place for mediation, along with
         the name of the selected mediator. Mediation must take place in person. If the parties
         cannot agree on a mediator, they shall notify the Clerk in writing as soon as possible, and
         the Clerk shall designate a certified mediator on a blind rotation basis. Counsel for all
         parties shall familiarize themselves with and adhere to all provisions of Local Rule 16.2.
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        Pursuant to the procedures outlined in the CM/ECF Administrative Procedures, the
        proposed order is to be emailed to cannon@flsd.uscourts.gov in Word format.

        April 23, 2025. The parties shall file motions to amend pleadings or join additional parties.

        July 29, 2025. The parties exchange expert witness summaries or reports.

        August 29, 2025. The parties exchange rebuttal expert witness summaries or reports.

        September 29, 2025. All discovery, including expert discovery, shall be completed.

        October 12, 2025. The parties must have completed mediation and filed a mediation
        report. Within five (5) days of mediation, the parties are required to file a mediation report
        with the Court. The mediation report shall indicate when and where the mediation
        was conducted; the name of the mediator; who attended the mediation; whether the
        case settled (in full or in part); whether it was adjourned; or whether the mediator
        declared an impasse. If mediation is not conducted in accordance with the Court’s
        Orders and the Local Rules, the case may be stricken from the trial calendar, and
        other sanctions may be imposed.

        October 31, 2025. The parties shall file all pre-trial motions, including motions for
        summary judgment, and Daubert motions. Each party is limited to filing one Daubert
        motion. If a party cannot address all evidentiary issues in a 20-page memorandum, it must
        petition the Court for leave to include additional pages. The parties are reminded that
        Daubert motions must contain the Local Rule 7.1(a)(3) certification. The parties are
        directed to review the Court’s procedure for the filing of summary judgment motions
        (set out below).

        February 13, 2026. The parties shall file the following materials:

           (1) a joint pre-trial stipulation pursuant to Local Rule 16.1(e);

           (2) a joint exhibit list and a joint trial plan in accordance with the Court’s templates
               available at https://www.flsd.uscourts.gov/content/judge-aileen-m-cannon (under
               “Civil Procedures” tab);

           (3) individually filed witness lists and deposition designations (and objections thereto
               and counter designations);

           (4) joint proposed jury instructions and verdict form in accordance with the instructions
               below [or proposed findings of fact and conclusions of law, as applicable]; and

           (5) any motions in limine (other than Daubert motions). Each party is limited to
               filing one motion in limine, which may not, without leave of Court, exceed the
               page limits allowed by the Rules. Boilerplate motions that request the Court
               to order the opposing party to comply with the Federal Rules of Evidence are

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                 improper and may be denied immediately. The parties are reminded that
                 motions in limine must contain the Local Rule 7.1(a)(3) certification.

         Jury Instructions and Verdict Form. Although they need not agree on each proposed

  instruction, the parties shall file their proposed jury instructions and verdict form, including

  substantive charges and defenses, in a single joint filing on CM/ECF. Where the parties do not

  agree on a proposed instruction, that instruction shall be set forth in bold type. Instructions

  proposed only by a plaintiff shall be underlined. Instructions proposed only by a defendant shall

  be italicized. Every instruction must be supported by citation to authority. The parties shall use

  as a guide the Eleventh Circuit Pattern Jury Instructions for Civil Cases, including the directions

  to counsel contained therein. The parties’ jury instructions should identify, as to each proposed

  jury instruction, whether the proposed language conforms to the Eleventh Circuit Pattern Jury

  Instructions. If a proposed instruction deviates from the Pattern Jury Instructions in any respect,

  such alteration should be made clear in the filing with a supporting explanation. For instructions

  on filing proposed documents, please see http://www.flsd.uscourts.gov. In addition to filing the

  joint jury instructions and verdict form on CM/ECF, the parties shall submit that filing, in Word

  format, via e-mail to cannon@flsd.uscourts.gov, by the specified deadline set forth above.

         Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636 and this District’s Magistrate

  Judge Rules, the above-captioned cause is referred to United States Magistrate Judge Shaniek M.

  Maynard for appropriate disposition of all pro hac vice motions, motions to withdraw and/or

  substitute counsel, and pretrial motions related to discovery. The undersigned also refers to Judge

  Maynard the authority to permit an amendment to a pleading. If any party accepts the opportunity

  to amend a pleading from Judge Maynard, the undersigned will deem any pending motion to

  dismiss (or motion to strike) the pleading as moot. Furthermore, in accordance with 28 U.S.C.




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  § 636(c)(1), the parties may consent to trial and final disposition by Judge Maynard. The deadline

  for filing a consent is October 31, 2025. Any such consent must be joint among all parties.

         Good Faith Conferral. For the purposes of compliance with the good faith conferral

  requirement of Local Rule 7.1(a)(3), the parties are instructed that a minimal e-mail exchange with

  opposing counsel shall not constitute a good faith effort under the Local Rules. The parties are

  instructed to confer either telephonically or in person.

         Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

  documents, and answer requests for admissions. The parties shall not file with the Court notices

  or motions memorializing any such stipulation unless the stipulation interferes with the deadlines

  set forth above. Stipulations that would so interfere may be entered into only with the Court’s

  approval. See Fed. R. Civ. P. 29. In addition to the documents enumerated in Local Rule 26.1(b),

  the parties shall not file notices of deposition with the Court. Strict compliance with the Local

  Rules is expected, particularly with respect to motions practice. See S.D. Fla. L.R. 7.1.

         Discovery Disputes. Prior to filing any discovery motion, counsel must actually confer

  and engage in reasonable compromise in a genuine effort to resolve their discovery disputes before

  seeking the Court’s intervention. The Court may impose sanctions, monetary or otherwise, if it

  determines that a party has improperly sought or withheld discoverable material in bad faith. If,

  after conferring, the parties are unable to resolve their discovery dispute without Court

  intervention, they shall follow Judge Maynard’s standard discovery procedures in bringing their

  dispute to the attention of the Court. Should the parties have any questions regarding the resolution

  of discovery issues, counsel should contact the chambers of Judge Maynard at (772) 467-2320.

         Summary Judgment. In addition to contemporaneously filing a Statement of Material

  Facts as required under Local Rule 56.1(a)–(b), the parties shall also file a Joint Statement of



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  Undisputed Facts, which must include all relevant facts about which there is no material dispute

  and be filed separately and on the same day as the motion for summary judgment itself. Each

  undisputed fact shall be numbered individually and separated by paragraph. It is imperative

  that each fact in a Statement of Material Facts (or in a response, reply, or joint statement)

  be accompanied by a particularized pinpoint citation to material in the record pursuant to

  Local Rule 56.1(b). If the supporting material is not in the record, the materials shall be attached

  to the statement as exhibits specifically titled within the CM/ECF system, and reference to a

  previously filed exhibit shall use the “ECF No.” format. All statements of material fact are limited

  to 10 pages, see Local Rule 56.1(b)(1)(A), and any requests for leave to include additional pages

  must be filed as a written motion for prior Court approval. The parties are reminded to consult

  Local Rule 56.1 to ensure compliance with the form and content of Statements of Material Fact.

          Trial Exhibits. All trial exhibits must be pre-marked. The Plaintiffs’ exhibits must be

  marked numerically with the letter “P” as a prefix; the Defendants’ exhibits must be marked

  numerically with the letter “D” as a prefix. The parties must submit a list setting out all exhibits

  in accordance with the Joint Exhibit List template referenced above. Counsel should take care to

  ensure that exhibits are not compound ‒ that is, that each document, to the extent practicable, is

  identified and marked individually.

          Additionally, no later than the first day of trial, all parties are to provide the Court

  with tabbed binders containing copies of all proposed exhibits. The binder should also include

  an exhibit list and a witness list.

          Voir Dire Questions. The Court will require each prospective juror to complete a brief

  written questionnaire prior to the commencement of questioning in the courtroom. Any party may

  submit up to five proposed, case-specific questions to be included in the questionnaire. The



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  proposed questions must be filed with the Court at the time of the filing of the joint pretrial

  stipulation and must also be submitted to the Court, in Word format, via e-mail to

  cannon@flsd.uscourts.gov. The Court will begin voir dire by questioning the venire individually

  and as a whole and will consider permitting limited attorney-directed voir dire thereafter. The

  Court will not permit the backstriking of jurors.

         Settlement Notification. If this matter is settled, counsel shall promptly file a Notice of

  Settlement on CM/ECF. The Notice of Settlement must be filed and served jointly by counsel

  for all parties to the settlement. See S.D. Fla. L.R. 16.4. In addition to filing a Notice of

  Settlement, counsel shall promptly inform the Court via telephone (772-467-2340) and/or e-mail

  (cannon@flsd.uscourts.gov).

         Form of Filings. All filings should be prepared using 12-point Times New Roman

  typeface that is double-spaced and fully justified. This Notice does not supplant the requirements

  and provisions of Local Rule 7.1(c).

         Joint Filings. Multiple Plaintiffs or Defendants shall file joint motions with co-parties

  unless there are clear conflicts of position. If conflicts of position exist, parties shall explain the

  conflicts in their separate motions.

         Extensions of Time. Any motion for a continuance or extension shall set forth in detail

  the basis for such a request and be filed sufficiently in advance of the deadline at issue to

  permit the Court to consider the motion. Moreover, the filing by counsel of a “Notice of

  Unavailability” will be stricken without further notice. Such notices are not provided for under

  the local rules and shall not be presumed to modify or alter the Court’s scheduling order.

         Duty to Comply. Failure to comply with this or any order of this Court, the Local Rules,

  or any other applicable rule may result in appropriate sanctions, including dismissal without



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  prejudice or the entry of a default, without further notice. It is the duty of all counsel and pro se

  litigants to enforce the timetable set forth in this Order to ensure an expeditious resolution of this

  cause.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 21st day of March

  2025.



                                                            _________________________________
                                                            AILEEN M. CANNON
                                                            UNITED STATES DISTRICT JUDGE

  cc:      counsel of record




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